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   11
   12                        UNITED STATES DISTRICT COURT
   13         CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
   14
   15 LUIS LORENZO VARGAS,                              Case No. 2:16-cv-08684-SVW-AFM
   16                                  Plaintiff,       PLAINTIFF LUIS VARGAS’
                                                        LOCAL RULE 16.4
   17                v.                                 MEMORANDUM OF
                                                        CONTENTIONS OF FACT AND
   18                                                   LAW
        CITY OF LOS ANGELES; LOS
   19 ANGELES POLICE DEPARTMENT;                        HON. STEPHEN V. WILSON
      COUNTY OF LOS ANGELES;
   20 OFFICE OF THE LOS ANGELES
      DISTRICT ATTORNEY; LOS
   21 ANGELES SHERIFF’S                                 CTRM:     10A
      DEPARTMENT; MONICA QUIJANO;
   22 RICHARD TAMEZ; SCOTT SMITH;                       Complaint Filed:     Nov. 12, 2019
      AND DOES 1-10, INCLUSIVE,
   23                                                   Pretrial Conference: June 17, 2019
                                    Defendants.         Trial Date:          June 25, 2019
   24
   25
   26
   27         TO THIS COURT, ALL PARTIES, AND THEIR COUNSEL OF
   28 RECORD, pursuant to Local Rule 16.4 and the Court’s Order, Plaintiff Luis Vargas
                                                    1
                                  PLAINTIFF’S COMPLAINT FOR DAMAGES
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    1 respectfully submits the following Memorandum of Contentions of Fact and Law,
    2 addressing the contentions of the parties in the above captioned case, regarding the
    3 upcoming trial scheduled to commence June 25, 2019.
    4                I.    INTRODUCTION
    5         Plaintiff Luis Lorenzo Vargas (hereinafter “Mr. Vargas”) was wrongfully
    6 imprisoned for 18 years as a direct result of Defendants’ deliberate indifference and
    7 reckless disregard for Mr. Vargas’ Constitutional rights and protections. Mr.
    8 Vargas’ claims are civil rights violations pursuant to 42 U.S.C. §1983. In sum,
    9 Defendants’ violated Mr. Vargas’ right to due process and right to a fair trial by
   10 improperly withholding potentially exculpatory evidence in direct violation of
   11 Constitutional obligations first established by Brady v. Maryland, 373 U.S. 83
   12 (1963).
   13         Mr. Vargas also asserts a claim for municipal liability under Monell v.
   14 Department of Social Services of City of New York, 436 U.S. 658 (1978) based on a
   15 systemic unConstitutional method of operation by the Los Angeles Police
   16 Department and the City of Los Angeles.
   17                II.   CLAIMS AND DEFENSES [L.R. 16-4.1]

   18         Mr. Vargas plans to pursue the following claims against Defendants:

   19 Claim 1 – Brady Claim
   20 Summary: Defendants Quijano and Smith violated Mr. Vargas’ Constitutional due
   21 process rights by failing to disclose potentially exculpatory and/or impeachment
   22
        evidence during his criminal prosecution.

   23
        Elements: The elements of a civil Brady claim against a police officer are:
        (1) the officer suppressed evidence that was favorable to the accused from the
   24
        prosecutor and the defense;
   25
        (2) the suppression harmed the accused, and:
   26
        (3) the officer acted with deliberate indifference to or reckless disregard for an
   27
        accused's rights or for the truth in withholding evidence from prosecutors. Source:
   28
                                                    2
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    1 Mellen v. Winn, 900 F.3d 1085, 1096 (9th Cir. 2018), See also 9th Cir. Model Jury
    2 Instructions, Instruction 9.33A
    3 Key Evidence in Support of Claim 1:
    4 Defendants created an investigative file of similar and signature crimes occurring
    5 throughout Los Angeles at the times of Vargas’ arrest.             Defendants created a
    6 document called the Serial Rapist Book, and created an ongoing investigation noting
    7 numerous other similar signature crimes for which Mr. Vargas was being
    8 prosecuted, the existence of which undermined the case for Mr. Vargas’ guilt for the
    9 charged crimes. This extensive investigation, noting the continuation of similar
   10 signature crimes, continued even after Mr. Vargas was convicted, and after his
   11 conviction became final.
   12
   13 Claim 2 – Monell Claim
   14 Summary: Similar to the Brady claim, the entity Defendants violated Mr. Vargas’
   15 Constitutional due process rights by failing to disclose potentially exculpatory and
   16 impeachment evidence during his criminal prosecution. However, as a distinct and
   17 separate claim, the Monell claim shows a violation of Mr. Vargas’ Constitutional
   18 and due process rights in a universal manner, with the systematic violations
   19 occurring via the named entity Defendants. Mr. Vargas shall present to the jury
   20 evidence showing how the entity Defendants violated his Constitutional rights via a
   21 failure to train theory, an unconstitutional custom, policy and practice, and how the
   22
        actions of a final policy maker, the ratifications of a subordinate’s actions via a final

   23
        policy maker, and/or a showing of deliberate indifference by the final policy maker
        as to the violations of Mr. Vargas’ Constitutional rights. See Christie v. Iopa, (9th
   24
        Cir. 1999) 176 F.3d 1231; City of St. Louis v. Praprotnik, 485 U.S. 112, 123 (1988).
   25
        Elements: The elements of a Monell claim based on the actions of a final policy
   26
        maker are as follows:
   27
        (1) Final policy makers at the LAPD acted under color of state law;
   28
                                                    3
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    1 (2) The act[s] of the final policy makers deprived the Mr. Vargas of his particular
    2      rights under the United States Constitution;
    3 (3) The final policy makers had final policymaking authority from the entity
    4      Defendants Los Angeles Police Department and the City of Los Angeles
    5      concerning these act[s];
    6 (4) When the final policy makers engaged in these act[s], they were acting as a final
    7      policymaker for Defendants Los Angeles Police Department and the City of Los
    8      Angeles and;
    9 (5) The act[s] of the final policy maker caused the deprivation of Mr. Vargas’ rights.
   10      Source: 9th Cir. Model Jury Instructions, Instruction 9.6
   11 The elements of a Monell claim based on the ratification by a final policy maker, or
   12 a final policy maker’s deliberate indifference to the unconstitutional consequences
   13 of such actions are as follows:
   14 (1) Defendants Quijano and Smith acted under color of state law;
   15 (2) The act[s] or failures to act of Defendants Quijano and Smith deprived Mr.
   16      Vargas of his rights under the United States Constitution as explained in later

   17      instructions;

   18 (3) [name of person the plaintiff alleges was a final policymaker] acted under color
   19      of state law;

   20 (4) [name of final policymaker] had final policymaking authority from Defendants
   21      Los Angeles Police Department and the City of Los Angeles concerning the

   22
           act[s] or failures to act of Defendants Quijano and Smith; and

   23
        (5) [name of final policymaker] ratified Defendants Quijano and Smith’s act[s] or
           failures to act, that is, [name of alleged final policymaker] knew of and
   24
           specifically made a deliberate choice to approve Defendants Quijano and Smith’s
   25
           act[s] or failures to act and the basis for it. 9th Cir. Model Jury Instructions,
   26
           Instruction 9.7
   27
   28
                                                  4
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    1     The elements for a Monell claim regarding policy, practice or custom are as
    2     follows:
    3     (1) LAPD personnel acted under color of state law;
    4     (2) The act[s] of the LAPD employees deprived the plaintiff of his particular
    5        rights under the United States Constitution as explained in later instructions;
    6     (3) The LAPD employees acted pursuant to an expressly adopted official policy
    7        or a widespread or longstanding practice or custom of the defendant LAPD
    8        and City of Los Angeles and
    9     (4) The defendant LAPD and City of Los Angeles’ official policy or widespread

   10        or longstanding practice or custom caused the deprivation of the plaintiff’s
   11        rights.
   12        Source: 9th Cir. Model Jury Instructions, Instruction 9.5
   13     The elements for a Monell claim regarding a failure to train are as follows:
   14     (1) the act[s] or failure to act of LAPD police officers deprived the plaintiff of his

   15        particular rights under the United States Constitution as explained in later

   16        instructions;

   17     (2) LAPD police officers acted under color of state law;

   18     (3) The training policies of the LAPD and City of Los Angeles were not adequate

   19        to prevent violations of law by its employees and/or to train its police officers

   20        to handle the usual and recurring situations with which they must deal;

   21     (4) The defendant LAPD and City of Los Angeles were deliberately indifferent

   22
             to the substantial risk that its policies were inadequate to prevent violations of

   23
             law by its employees and/or known or obvious consequences of its failure to
             train its police officers adequately; and
   24
          (5) The failure of the defendant LAPD and City of Los Angeles to prevent
   25
             violations of law by its employees and/or to provide adequate training caused
   26
             the deprivation of the plaintiff’s rights by the LAPD police officers.
   27
             Source: Source: 9th Cir. Model Jury Instructions, Instruction 9.8
   28
                                                   5
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    1 Key Evidence in Support of Claim 2:
    2 Defendants created an investigative file of similar and signature crimes occurring
    3 throughout Los Angeles at the times of Vargas’ arrest. This entire investigation was
    4 continued for more than a decade, including signature crimes that were continually
    5 committed long after Mr. Vargas was convicted. The policy makers within the
    6 entity Defendants knew of this investigatory file, its contents, and its far reaching
    7 potentially exculpatory or witness impeaching characteristics to Mr. Vargas.
    8 Specific testimony from multiple Los Angeles Police Department personnel with
    9 policy making authority establish these facts.
   10
   11 Summary of Defendants’ Affirmative Defenses
   12 Defendants have not plead any counterclaims, and have plead four (4) Affirmative
   13 Defenses:
   14 Affirmative Defense No. 1
   15 Failure to comply with CA Tort Claims Act, CA Gov. Code. §910 et seq. and CA
   16 Gov. Code §945.6
   17 Elements Required to Establish Defendants’ Affirmative Defense No. 1
   18 Defendants must show Mr. Vargas failed to sufficiently provide a “claim
   19 presentation” within six-months of the accrual of his claim. Bell v. Tri-City Hosp.
   20 Dist. (1987) 196 Cal. App. 3d 438; State of California v. Superior Court (2004) 32
   21 Cal. 4th 1234; CA Gov. Code §911.2
   22
        Key Evidence to Refute Defendants’ Affirmative Defense

   23
        If this affirmative defense is still being asserted, Mr. Vargas will show his proof of
        Notice of Claim served on all appropriate Defendants within the statutory timeframe
   24
        of his claim’s accrual.
   25
        Affirmative Defense No. 2
   26
        Immunity pursuant to Smiddy v. Varney, 13 803 F. 2d 1469 (9th Cir. 1986), and
   27
        Jackson v. City of San Diego, 121 Cal. App. 3d 579, 14 (1981)
   28
                                                   6
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    1 Elements Required to Establish Defendants’ Affirmative Defense No. 2
    2 The anticipated use of the cases cited by Defendants would include immunity from
    3 damages based on the independent actions of the District Attorney, and/or immunity
    4 for the individual officers under CA Gov. Code §810 et seq.
    5 Source: Smiddy v. Varney, 13 803 F. 2d 1469 (9th Cir. 1986), and Jackson v. City of
    6 San Diego, 121 Cal. App. 3d 579, 14 (1981)
    7 Key Evidence to Refute Defendants’ Affirmative Defense
    8 These affirmative defenses are inapplicable to the facts of this case because the
    9 District Attorney was unable to make an informed independent decision to prosecute
   10 Mr. Vargas, as she was not provided with the relevant and exculpatory/impeachment
   11 evidence suppressed by the Defendants.
   12 Affirmative Defense No. 3
   13 Collateral Estoppel and/or Res Judicata
   14 Elements Required to Establish Defendants’ Affirmative Defense No. 3
   15 To rely on the affirmative defense of res judicata, a party must show (1) a prior final
   16 determination on the merits by a court of competent jurisdiction; (2) identity of
   17 parties or those in privity with them; and (3) a second action based on the same
   18 claims as were or could have been raised in the first action.
                                                        th
   19 Source: Bodle v. TXL Mortg. Corp., 788 F.3d 159 (5 Cir. 2015)
   20 To establish collateral estoppel under federal law, one must show: (1) that the issue
   21 at stake be identical to the one involved in the prior litigation; (2) that the issue has
   22
        been actually litigated in the prior litigation; and (3) that the determination of the

   23
        issue in the prior litigation has been a critical and necessary part of the judgment in
        that earlier action.
   24
        Source: Rabo Agrifinance, Inc. v. Terra XXI LTD, 583 F.3d 348 (5th Cir. 2015)
   25
        Key Evidence to Refute Defendants’ Affirmative Defense
   26
        The issues regarding these affirmative defenses have already been raised, briefed,
   27
        and decided by the Court. These defenses are inapplicable to the remaining claims
   28
                                                   7
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    1 in this case.
    2 Affirmative Defense No. 4
    3 Immunity from Punitive Damages for individual Defendants sued in official
    4 capacity
    5 Elements Required to Establish Defendants’ Affirmative Defense No. 4
    6 Defendants cite no affirmative statute or case law sustaining this affirmative
    7 defense. The elements for this position are therefore unknown to Mr. Vargas. In
    8 opposition, Mr. Vargas notes that police officers sued in their individual capacities –
    9 as is the case here – are subject to punitive damages liability.
   10 Source: Cornwell v. Riverside, 896 F.2d 398 (9th Cir. 1990)
   11 Evidentiary Issues
   12 Mr. Vargas anticipates the evidentiary issues are laid out in the filed Motions in
   13 Limine, and Mr. Vargas’ position with respect to each of these issues is outlined
   14 therein.
   15 Issues of Law
   16 Mr. Vargas does not anticipate any further issues of law.
   17
   18                 III.   BIFURCATION OF ISSUES [L.R. 16-4.3]

   19         The issue of trial bifurcation was initiated by the Court during a hearing on

   20 August 20, 2019 (ECF No. 144). Defendants filed their motion for bifurcation on
   21 September 04, 2019 (ECF No. 149). Mr. Vargas filed his Opposition on September
   22
        11, 2019 (ECF No. 152), and the Court granted the Motion for Bifurcation on

   23
        October 03, 2019 (ECF No. 158).
              As Mr. Vargas respects the Court’s decision on this issue, it will not be
   24
        reargued here. However, Mr. Vargas requests an opportunity to be heard on the
   25
        issue before the start of trial as this issue relates to any developments in the
   26
        evidence, claims, or otherwise.
   27
                      IV.    JURY TRIAL [L.R. 16-4.4]
   28
                                                  8
                                  PLAINTIFFS’ COMPLAINT FOR DAMAGES
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    1        Mr. Vargas has made a timely jury trial demand with his Second Amended
    2 Complaint, filed on April 14, 2018 (ECF No. 113) as to all claims and issues so
    3 triable.
    4            a. Issues Triable to the Jury
    5               1. Whether individual Defendants Quijano and Smith violated Mr.
    6                  Vargas’ Constitutional rights under Brady v. Maryland.
    7               2. Whether Defendants Los Angeles Police Department and City of Los
    8                  Angeles violated Mr. Vargas’ Constitutional rights under Monell v.
    9                  Dept. of Social Services of the City of New York.
   10            b. Issues Triable to the Court
   11               There are no apparent issues to be tried to the Court at this time.
   12                 V.     ATTORNEYS’ FEES [L.R. 16-4.5]
   13        Pursuant to 42 USC §1988, Mr. Vargas’ attorneys will be entitled to
   14 reasonable attorney fees and costs, including expert costs, as a prevailing party in
   15 this case.
   16                 VI.    ABANDONMENT OF ISSUES [L.R. 16-4.6]

   17        Mr. Vargas has not abandoned any claims or issues in this case.

   18
        DATED: May 27, 2019                       LAW OFFICES OF JAN STIGLITZ
   19
                                                  /s/ Jan Stiglitz
   20                                             Jan Stiglitz, Esq.
                                                  Attorney for Plaintiff Luis Lorenzo Vargas
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                                    PLAINTIFFS’ COMPLAINT FOR DAMAGES
